CaSe: 3209-CV-00035-|\/|P|\/|-DAS DOC #Z 49 Filed: 05/12/09 l Of 3 Page|D #Z 1193

IN THE UN[TED STATES DISTRICT COURT
FOR THE NORTHERN DISTR.ICT OF MISSISSIPPI
WESTERN DlVlSlON

HYBRID KINETIC AUTOMOTIVE
HOLDINGS, INC. and AMERICAN COMPASS, INC. PLAINTIFFS

VS. CIVIL ACTI()N NO. 3:09-CV-35-M-A

HYBRID K_INETIC AUTOMOTIVE CORP.,
CHARLES WANG, JACK DENG, GARY '[`ANG,
and NICHOLE DENTON DEFENI)ANTS

vl:'k‘k

HYBRID KINETIC AUMOTIVE C(}RPORATION,

CHARLES, WANG, JACK DENG GARY TANG,

NICHOLE DENTON, BETHANY TURNER

KONG BING OEI, PETER KREUTER AND

MOTOREN-und ENGINE- TECHNIC Gth THIRD-PARTY PLAINTIFFS

VS.

YUNG (BENJAMIN) ¥EUNG A)'K/A RONG YANG,
RHEA YEUNG, VINCENT WANG, JIMMY WANG,
QUAN LlU, ZHENGSHAN LI, ZHENGWEI ZHANG
HONGYU SUN, HYBRID KINETIC AU'I UM()TIVE
HOLDINGS, INC., HYBRID KINETIC MOTORS
CORPORATION, THE ALABAMA CENTER

FOR FOREIGN INVES FMENT, LLC, FAR EAST

GOLDEN RESOURCES GROUP, LTD. AND
AMERlCAN COMPASS INC. THIRD-PARTY DEFENDANTS

MOTION TO WITHDRAW AS COUNSEL
Pursuant to Local Rule 83.1(13)(3), Morris, Manning & Martin, LLP hereby moves for an
Ordcr designating the law firm 01` Lim:r (jrode Slein Yankelevitz Sunshine chens!rcif`& Taylor
LI,P. admitted pro hac vice, as lead counsel to plaintiffs Hybrid Kinetic Automotive Holdings,
Inc. and American Compass, lnc. (collectively., "Plainti[fs”), and relieving the law firm of

Morris, Manning & Martin, LLP from all further responsibility in this matter. As grounds for the

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motion, Morris, Manning & Martin, LLP submits: l) Plaintit`f`s have been notified of and consent

to Morris, Manning & Martin, LLP’s withdrawal from this matter; and 2) all counsel of record in

this ease have been notified of` said withdrawal

WHERE|~`ORE, based on the foregoing it is respectfully requested that the Court grant

this Motion To Withdraw As Counsel.

AND

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Respectfully submitted,

MORRIS, MANNFNG
& MARTlN, LLP

1600 Atlanta Finaneial Center
3343 Peachtree Road, NE
Atlanta, Georgia 30326

William J. Sheppard_. Esq.

Date: HLLI{ &i{ w §

 

Plaintit`t`s Hybrid Kinetic Automotive
Holdings, Inc. and American Compass, Inc.

By= %;%%Vs;#>
Title: @fecfar”
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CERTI FICATE OF SERVICE

I, Wi]liam J. Sheppard. do hereby certify that l have this day delivered via e-inail a

true and correct copy of the above and foregoing MO'I`ION TO WITHDRAW AS COUNSEI.

to the t`ollowing:

William C, Btabec, Esq.
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This 12"' day sr May, 2009_

MORRIS, MANNING & MARTIN, LLP

fsi Wt`t’h`am J'. Shez)pm~a'
William .l. Sheppard

